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                       Exhibit 1
     (Ryan Newman Depo. Excerpts)
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                                   November 07, 2022

· · · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · ·NORTHERN DISTRICT OF FLORIDA
· · · · · · · · · · TALLAHASSEE DIVISION

· · · · · · · · · · · · · · · · CASE NO. 4:22-cv-302-RH-MAF

·
·   · ANDREW H. WARREN,
·
·   · · ·Plaintiff,
·
·   · vs.
·
·   ·   RON DESANTIS, individually
·   ·   and in his official capacity
·   ·   as Governor of the State
·   ·   of Florida,

· · · ·Defendant.

· · · · · · · · · · · · · · · · · · · · ·/

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·   · · · · · · REMOTE VIDEO-RECORDED DEPOSITION OF
·   · · · · · · · · · · · · ·RYAN NEWMAN
·   · · · · · · · · · · · ·{Pages 1 - 194}
·
·   · · · · · · · · · Monday, November 7, 2022
·   · · · · · · · · · · 8:30 a.m. - 3:36 p.m.
·   · · · · · · · · · U.S. Legal Support, Inc.
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· · · · · · · · · · · · ·(Held Remotely)

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· · · · · · · · · Stenographically Reported By:
· · · · · · ·Deanne M. Moore, RMR, CRR, FPR, FPR-C


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·1· · · · · · · · · · · · ·APPEARANCES

·2· On Behalf of the Plaintiff:

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· ·   ·   ·BY:· DAVID O'NEIL, Esquire· · · · · · · (Via Zoom)
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·8

·9
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· ·   ·   · · · JEFF AARON, Esquire
15

16

17· ALSO PRESENT:

18·   Michael Hollander, Videographer, U.S. Legal Support,
· ·   Inc.
19
· ·   Charlie McKenna, Debevoise and Plimpton
20
· ·   Andrew Warren
21

22

23

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·1· · · Exhibit 1.

·2· · · · · ·(Exhibit 1 was marked for identification.)

·3· BY MR. O'NEIL:

·4· · · Q· · Mr. Newman, you see here on page 5 and then it

·5· continues on page 6 a list of meetings in which Governor

·6· DeSantis personally participated relating to the

·7· suspension.· Do you see that?

·8· · · A· · Yes, sir.

·9· · · Q· · Okay.· You don't know what was discussed at the

10· meeting in December of 2021; is that correct?

11· · · A· · That's correct.

12· · · Q· · Did either Mr. Uthmeier or Mr. Keefe tell you

13· what occurred at that meeting?

14· · · A· · The only thing that comes to mind is Larry

15· might have mentioned to me that he believed that's when

16· he was given some direction to conduct a review, but I

17· wasn't there.

18· · · Q· · Do you know whether or not --

19· · · A· · Or I don't recall being -- at least I don't

20· recall being there.

21· · · Q· · Do you know whether or not Mr. Warren's name

22· arose at that meeting?

23· · · A· · No -- no, sir, I -- I don't.

24· · · Q· · What happened at the meeting between

25· Mr. Uthmeier, you and Mr. Keefe on July 26th?


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·1· · · A· · That was the -- that was the meeting in which

·2· we broached with the Governor -- or at least we informed

·3· the Governor of Mr. Warren's pledge and the joint

·4· statement not to prosecute abortion crimes.

·5· · · Q· · What -- what specifically did you say to the

·6· Governor?

·7· · · A· · Well, we -- we informed him of the joint

·8· statement and of -- of the declaration, you know, the --

·9· the pledge or commitment not to enforce or prosecute

10· abortion crimes in the state.

11· · · Q· · Is that how you described it to him?

12· · · A· · What's that?

13· · · Q· · Is that how it was described?

14· · · A· · Well, as best as I -- as best as I can recall.

15· I can't -- I can't say with exact detail what precisely

16· I said, but I do know that that's the first time I made

17· the Governor aware of Mr. Warren's pledge not to

18· prosecute abortion crimes in the state.

19· · · · · ·And the purpose of the -- of the meeting was to

20· gauge or determine whether or not the Governor -- the

21· Governor thought -- or would be willing to or thought

22· there would be grounds for suspension based on that

23· pledge.

24· · · Q· · How long did the meeting go?

25· · · A· · Meetings like this tend to be fairly short and


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·1· certainly wouldn't have exceeded 30 minutes, but

·2· honestly, it was probably even less than that.

·3· · · Q· · What, if any, documents did you bring to that

·4· meeting?

·5· · · A· · I would have brought -- although I honestly

·6· cannot recall precisely what I carried to the meeting.

·7· I would be surprised if I did not bring the joint

·8· statement, so I suspect that I did, but I --· I honestly

·9· can't remember with great detail.

10· · · Q· · Based on the Governor's reaction, do you

11· believe that he was familiar with the joint statement

12· before you briefed him on it?

13· · · A· · No.

14· · · Q· · Did he read the joint statement during that

15· meeting?

16· · · A· · I don't recall that he did.· I probably -- as

17· is common in meetings like this, I probably read the

18· language from the joint statement that made clear that

19· Mr. Warren was pledging not to prosecute abortion

20· crimes.

21· · · Q· · Do you recall which particular sentences you

22· read?

23· · · A· · Well, the -- the -- without having it in front

24· of me, the line where he committed to not use his

25· office's resources and pledged to refrain from


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                                                                                     YVer1f
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·1· prosecuting -- I can't remember the exact language, but

·2· he pledged to refrain from prosecuting those who provide

·3· abortions.

·4· · · Q· · What did the Governor?

·5· · · A· · That was -- that was a key -- that was the key

·6· language, so I suspect I probably read that to him,

·7· although --

·8· · · Q· · I'm sorry, continue.

·9· · · A· · Again, you know --

10· · · Q· · What did the Governor --

11· · · · · ·(Crosstalk.)

12· · · A· · I'm sorry.· How did he respond?

13· · · Q· · What did the Governor -- yeah, what did he say

14· to you?

15· · · A· · Well, his response was not particularly

16· enthusiastic.· He expressed concern that suspension

17· based on a pledge perhaps could be viewed as not a

18· neglect of duty under the law.

19· · · · · ·And he was concerned that with just a pledge,

20· you know, that could be easily walked back.· A pledge

21· before a crime was actually committed, he was concerned

22· about, and certainly in taking this in to him, I was

23· aware that those could be, you know, valid objections to

24· the Governor's suspension, although at the end of the

25· day -- and this was my response back to him.


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·1· · · · · ·My conclusion was that when a prosecutor, state

·2· attorney, the head prosecutor in the jurisdiction,

·3· pledges to -- pledges in his official capacity to not

·4· enforce a particular law, the laws of the state, that

·5· that was actually even worse than had he just remained

·6· quiet and waited until after the offenses were committed

·7· and then not prosecute them, because to declare the

·8· pledge, to commit to the public that you're not going to

·9· bring certain prosecutions is to invite law breaking, is

10· to invite violations of the law.

11· · · · · ·And so my view -- and this is -- this is what I

12· responded to him.· So I sort of pushed back on his

13· initial reluctance because I just thought -- honestly, I

14· just thought it was appalling to -- for the chief

15· prosecutor in a jurisdiction to go out and make that

16· kind of commitment, and thereby invite law breaking,

17· thereby inviting a crime to occur.

18· · · · · ·And I think -- my impression is that that

19· convinced the Governor because his response back to me

20· was, oh, yeah, well, I guess that's right.· What if --

21· what if somebody just declared that they're not going to

22· prosecute murder cases for certain classes of victim,

23· would the government just have -- have to stand by and

24· wait for the crimes to be committed?

25· · · · · ·And I think we both agreed that, no, that can't


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·1· possibly be right, that if they -- if a state attorney

·2· makes pledge or commitment not to prosecute certain

·3· classes of cases, that that alone -- that itself is

·4· neglect of duty.· That would -- you know, that -- that

·5· would be a basis for suspension.

·6· · · Q· · Would it be the same concern if there was a

·7· pledge not to arrest people for certain types of

·8· conduct?

·9· · · A· · Yes, perhaps, depending upon the -- you know,

10· the -- the -- the circumstances.

11· · · Q· · Do you know what --

12· · · A· · But, yes.

13· · · Q· · Yeah.

14· · · A· · Yeah, I'm just saying -- the general idea, I

15· mean, I think you understand is when you know, the chief

16· prosecutor of the jurisdiction announces he's not going

17· to -- not going to prosecute a certain class of crimes

18· that -- that that can be problematic.

19· · · Q· · Were there any other documents discussed in

20· this meeting on the 26th?

21· · · A· · I don't think any other documents were

22· discussed.

23· · · Q· · What else was discussed?

24· · · A· · So after we had that exchange, the Governor

25· next asked whether were any other grounds for


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·1· suspension, and my recollection was that Larry, who had

·2· been conducting the review, had been interfacing with

·3· various law enforcement officials, including Sheriff

·4· Cronnister, indicated that there were other policies

·5· that were problematic because they created in effect

·6· categorical exemptions from the enforcement of certain

·7· crimes.

·8· · · · · ·And -- and -- and -- and I think we brought up

·9· the -- the bike policy as an example.· Whether or not

10· we've brought up the other presumptive, non-prosecution

11· policy or not, I cannot -- I cannot recall sitting here

12· right now, but I do know that -- that Larry made the

13· point that there were other policies that were

14· problematic.

15· · · Q· · And at that time had you read those other

16· policies?· Were you familiar with those other policies?

17· · · A· · I think I had read the -- the bike policy.

18· Whether I was aware at that time of the other preemptive

19· non-prosecution policy, I honestly can't recall whether

20· I -- whether I became aware of that policy, you know,

21· before that meeting or shortly thereafter.· I -- I just

22· don't remember.

23· · · Q· · What, if anything, was discussed about the

24· gender affirming care statement?

25· · · A· · I don't recall having any conversations about


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·1· · · A· · Yeah, I do remember being on a call where

·2· Sheriff Cronnister was on the phone and Chief Dugan, and

·3· James and Larry would have been there.· Whether it was

·4· on this date or some other date in this sort of two-day

·5· period.· I'm a little uncertain, but it could well have

·6· been this one.

·7· · · Q· · What was discussed?

·8· · · A· · My only recollection was that James wanted

·9· to -- that's Mr. Uthmeier -- wanted to confirm that

10· Sheriff Cronnister would ultimately support the

11· Governor's decision if that's -- to suspend Mr. Warren

12· if that's what -- if that's what was ultimately decided.

13· · · Q· · And what was -- what was said on that topic?

14· · · A· · That -- that he would.

15· · · Q· · That -- and according to Exhibit 1, there was

16· an additional meeting on August 3rd, I believe.· Maybe

17· we can go back to that.· Yes.

18· · · · · ·So according to this -- while we're scrolling,

19· I'll just read it.· Paragraph F says -- paragraph E says

20· "meeting with James Uthmeier and Ryan Newman on

21· August 3rd."

22· · · · · ·So that's the next day.· What happened at that

23· meeting?

24· · · A· · This is when the Governor gave me feedback on

25· the draft of the executive order.


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·1· · · Q· · Other than him providing you with his comments

·2· on that, did anything else -- was anything else

·3· discussed?

·4· · · A· · The only other thing that probably was

·5· discussed was to confirm with the Governor that Suzy

·6· Lopez had agreed to be the replacement.

·7· · · Q· · By this time had the Governor definitively made

·8· the decision to suspend Mr. Warren?

·9· · · A· · Yeah.· I think it's fair to say that by this

10· point, he was not going to reverse course.

11· · · Q· · Do you know when in the process that you've

12· been describing -- in the sequence of events you've been

13· describing that the Governor went in his mind from

14· tentative to definitive?

15· · · A· · Not precisely.· It was just apparent from --

16· you know, from the beginning of the week when we came

17· back after the weekend on August 1st that -- that he was

18· going to be fine with this course of action.

19· · · Q· · Did you speak with the Governor about what he

20· would decide to do -- what -- what he would have decided

21· if he had the same -- same documents that we've

22· discussed, but -- but no office policies of -- of

23· Mr. Warren, so no bike policy no presumptive

24· non-prosecution policy.

25· · · · · ·Did you ask the Governor about what he would


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·1· Mr. Keefe ever identify the Seminole County sheriff as a

·2· potential target of suspension?

·3· · · A· · No.

·4· · · Q· · And why not?

·5· · · · · ·MR. LEVESQUE:· Object to the form.

·6· · · A· · I have no idea.· He never -- he never

·7· identified him to me.

·8· · · · · ·MR. O'NEIL:· Is this tab 45?

·9· · · · · ·MS. SINGH:· This is 45.· Did you want 25 or 45?

10· · · · · ·MR. O'NEIL:· 45.

11· · · · · ·MS. SINGH:· That was 45.

12· · · · · ·MR. O'NEIL:· This is 45?· Okay.

13· BY MR. O'NEIL:

14· · · Q· · Mr. Newman, can you take a look at this?

15· · · · · ·MS. SINGH:· And Exhibit 13.· Exhibit 13.

16· · · · · ·MR. O'NEIL:· Thanks.· We'll label this

17· · · Exhibit 13.

18· · · · · ·(Exhibit 13 was marked for identification.)

19· BY MR. O'NEIL:

20· · · Q· · Why don't we flip through this a minute so you

21· can see what this document is.

22· · · · · ·Okay.· Now that you see the writing, do you

23· know what this document is?

24· · · A· · Yes, sir.

25· · · Q· · What is it?


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·1· · · A· · These are the -- these are the Governor's edits

·2· to the executive order.

·3· · · Q· · How do you know that they are the Governor's

·4· edits?

·5· · · A· · Because he gave the -- these to me during that

·6· August 3rd meeting when I got his feedback.

·7· · · Q· · Did he explain the edits to you when he gave

·8· them to you or did he just provide them to you?

·9· · · A· · No, he -- he rattled off orally actually what

10· the edits were, and I had my own draft of the executive

11· order and tried to, you know, make my notes as quickly

12· as I could.· But he was going faster than I could --

13· than I could keep up, so I think at the end of the

14· meeting he just said here, take my -- take my hand

15· edits, and so that's what he -- that's what he gave to

16· me at the end of the meeting.

17· · · Q· · So let's go back to page 4 of this -- 3 of this

18· document.· I think it's the first edit.

19· · · · · ·I believe that says "non-abortion infractions

20· first;" is that correct?

21· · · A· · Yeah, that's -- that's how I read it.

22· · · Q· · Why did the --

23· · · · · ·(Crosstalk.)

24· · · A· · And, Mr. O'Neil, you -- you cut out I think.

25· · · Q· · I just -- I didn't know if you were done with


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